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 Attorney or Party without Attorney:                                                                                For Court Use Only
 TODD PICKLES (SBN 215629)
 GREENBERG TRAURIG LLP
 1201 K STREET SUITE 1100
 SACRAMENTO , CA 95814
   Telephone No: (916) 442-1111

      Attorney For:                                              Ref. No. or File No.:
                      Plaintiff
                                                                 214106.010100

 Insert name of Court, and Judicial District and Branch Court:
 IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA
     Plaintiff:   E.Y. OROT ASSETS LTD.; et al.
 Defendant:       DIAMOND FOUNDRY INC.

          PROOF OF SERVICE                     Hearing Date:             Time:           Dept/Div:       Case Number:
                                                                                                         3:24-cv-03836


1.   At the time of service I was at least 18 years of age and not a party to this action.

2.   I served copies of the SUMMONS IN A CIVIL ACTION; COMPLAINT; CIVIL STANDING ORDERS FOR MAGISTRATE JUDGE JOSEPH
     C. SPERO; ORDER SETTING INITIAL CASE MANAGEMENT CONFERENCE AND ADR DEADLINES; STANDING ORDER FOR ALL
     JUDGES

3.   a.    Party served:      DIAMOND FOUNDRY INC., a Delaware corporation
     b.    Person served:     Mike Calonicol, head of finance . Authorized to Accept Service of Process
                              Caucasian , Male , Age: Late 40s , Hair: Brown , Eyes: Blue , Height: 6'2" , Weight: 210

4.   Address where the party was served:        322 EAST GRAND AVENUE, SOUTH SAN FRANCISCO, CA 94080

5.   I served the party:
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
     process for the party (1) on: Tue, Jul 09 2024 (2) at: 04:04 PM

6. Person Who Served Papers:
   a. Luis Arturo Mendez (2021-0001497, San Francisco)                                         d. The Fee for Service was: 203.20
   b. FIRST LEGAL
      1000 G Street, Suite 250
      SACRAMENTO, CA 95814
   c. (916) 444-5111




7.   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 07/09/2024
                                                                                    (Date)                               (Signature)




                                                                     PROOF OF                                                              11384712
                                                                      SERVICE                                                            (16163409)
